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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JENNIFER MCFADDEN MISSIMER, et al               :      CIVIL ACTION
                                                :
      v.                                        :
                                                :
GLOBAL CREDIT & COLLECTION                      :
CORPORATION                                     :      NO. 11-2905

                                        ORDER

      AND NOW, this 22nd day of December, 2011, it having been reported that the

issues between the parties in this action have been settled and pursuant to the provisions

of Rule 41.1(b) of the Local Rules of Civil Procedure, it is ORDERED that this action is

DISMISSED with prejudice, without costs.




                                                /s/Timothy J. Savage
                                                TIMOTHY J. SAVAGE, J.
